                        Case: 1:22-cv-00204-MRB-SKB Doc #: 40-1 Filed: 05/22/23 Page: 1 of 1 PAGEID #: 496
                                                                                      Cassaundra Sark <csark@lambert-law.org>



DeCastro v. Pam Wagner, et al.
3 messages

Cassaundra Sark <csark@lambert-law.org>                                                                 Wed, Mar 8, 2023 at 11:58 AM
To: "IamAlaskan@gmail.com" <IamAlaskan@gmail.com>

 Mr. DeCastro,

 Attached you'll find the Lawrence County Defendants' first set of written discovery. A hard copy is being mailed out
 today. If you have any questions or concerns, please let me know.

 Thanks,
 Cassaundra L. Sark
 Attorney
 Lambert Law Office
 215 South 4th Street
 Ironton, Ohio 45638
 Tel: (740) 532-4333
 Fax: (740) 532-7341
 E-mail: csark@lambert-law.org

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  2 attachments
       DeCastro (First Set Written Discovery to DeCastro).docx
       150K
       DeCastro (First Set Written Discovery to DeCastro).pdf
       150K


Chille DeCastro <iamalaskan@gmail.com>                                                                    Wed, Mar 8, 2023 at 8:13 PM
To: Cassaundra Sark <csark@lambert-law.org>


 Dear Ms. Sark,

 I've noted your RFPs, but did you mean to send me interrogatories (especially these ones)? Sending interrogatories
 without leave of the court before the 26(f) meeting is improper, and these questions are mostly requesting things that
 will be in my initial disclosures or for things wholly inappropriate, especially given my claims. Should I disregard these,
 or is there any reason why I shouldn't file a motion for sanctions? I'm considering doing exactly that. Were you unaware
 that you're out of bounds?

 Thank you,
 Jose M. DeCasto



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Cassaundra Sark <csark@lambert-law.org>                                                                   Wed, Mar 8, 2023 at 9:37 PM
To: Chille DeCastro <iamalaskan@gmail.com>

 Mr. DeCastro,

 I was mistaken in my belief that a rule 26(f) report was completed in this case. After reviewing the docket, I realize that it
 has not been completed. Please disregard the first set of written discovery that I’ve sent. I will send it to you once more
 when the rule 26(f) report is filed.

 - Cassaundra
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